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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

NICOLA WARR,                                                                           Plaintiff,

v.                                                      Civil Action No. 3:15-cv-642 –DJH-DW

TOWN AND COUNTRY FORD, LLC,                                                          Defendant.

                                           * * * * *

                                            ORDER

         The parties have filed a stipulation of dismissal with prejudice signed by all parties.

(Docket No. 10) Accordingly, and the Court being otherwise sufficiently advised, it is hereby

         ORDERED that this action stands DISMISSED with prejudice pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A) and is STRICKEN from the Court’s active docket. All dates and

deadlines set in this matter are VACATED.

October 27, 2015




                                                           David J. Hale, Judge
                                                        United States District Court




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